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 2
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 3   Fresno, CA 93704
     Telephone: 559-431-9710
 4   Attorney for Defendant, GERARDO ALVAREZ-MONTANEZ
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 7

 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         No. 1:14- CR-47-002 AWI
12                              Plaintiff,             STIPULATION TO ADVANCE
                                                       SENTENCING HEARING AND ORDER
13          v.                                         THEREON
14   GERARDO ALVAREZ-MONTANEZ
                                                       Date: September 2, 2014
15                            Defendants.              Time: 10:00 a.m.
                                                       Judge: Honorable Anthony W. Ishii
16                                                            United States Judge
17

18                                            STIPULATION
19          It is hereby stipulated by and between the parties hereto that the sentencing hearing in the
20   above entitled matter now set for September 15, 2014, at 10:00 a.m. may be advanced to
21   September 2, 2014 at 10:00a.m.
22          The parties agree that time shall be excluded pursuant to 18 U.S.C. § 3161, subd. (h) (7)
23   (A) and (B) in that the ends of justice served by the continuance outweigh the best interest of the
24   public and the defendant in a speedy trial, since the failure to grant such a continuance would
25   deny counsel for the defendant the reasonable time necessary for effective preparation, and plea
26   negotiations taking into account the exercise of due diligence.
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     DATED: August 26, 2014                FLETCHER & FOGDERUDE, INC.
 3
                                            /s/ Eric K. Fogderude   .
 4                                         ERIC K. FOGDERUDE
                                           Attorney for Defendant,
 5
                                           GERARDO ALVAREZ-MONTANEZ
 6
     DATED: August 26, 2014                /s/ Melinda Peyret______________________
 7                                         MELINDA PEYRET,
 8                                         US Probation Officer

 9
     DATED: August 26, 2014                Benjamin B. Wagner
10
                                           United States Attorney
11
                                           /s/ Brian Delaney                   .
12                                         BRIAN DELANEY , Assistant US Attorney
13
                                                   ORDER
14
            IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C. §3161, subd.(h)(8)(A) and
15
     (B). For the above stated reasons, the court finds that the ends of justice served by the delay
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     outweigh the best interest of the public and the defendant in a speedy trial. Therefore, the court
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     grants the stipulation that the sentencing hearing be advanced from September 15, 2014 at 10:00
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     a.m. to September 2, 2014 at 10:00 a.m. before Judge Anthony W. Ishii.
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     IT IS SO ORDERED.
21
     Dated: August 26, 2014
22                                                SENIOR DISTRICT JUDGE
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